                                                                                                      FILED
                                                                                          DALLAS COUNTY
                                                                                         5/22/2019 12:48 AM
  Case 3:19-cv-02161-G Document 1-5 Filed 09/12/19          Page 1 of 104 PageID 15          FELICIA PITRE
                                                                                           DISTRICT CLERK

                                                                              Christi Underwood
                                      DC-19-07239
                             CAUSE NO. _________

  RONALD BURKE ,                          §       IN THE DISTRICT COURT
                                          §
       Plaintiff,                         §
                                          §
  v.                                      §        ____ JUDICIAL DISTRICT
                                          §
  CITY OF FORT WORTH,                     §
  TEXAS,                                  §
                                          §        DALLAS COUNTY, TEXAS
       Defendant.

 PLAINTIFF’S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE

TO THE HONORABLE JUDGE OF SAID COURT:

        NOW COMES, Ronald Burke (hereafter “Plaintiff” or “Burke”), and files this

his Original Petition against the City of Fort Worth, Texas, (hereafter “Defendant” or

“City”) and for cause of action would show the following:

                               I.
       DISCOVERY CONTROL PLAN AND NOTICE OF RELATED CASE

        1.    Plaintiff intends to conduct discovery in this matter under Level 3

pursuant to Tex. R. Civ. P. 190.4.

        2.    Pursuant to Local Rule 1.06, Plaintiff hereby states that a related case

is pending involving similar claims, styled Birchett v. City of Fort Worth, Texas, No.

DC-19-06941, pending in the 162nd District Court for Dallas, County, Texas.

                                      II.
                              CLAIMS FOR RELIEF

        3.    Burke seeks monetary relief in excess of $1,000,000.00 including

damages of any kind, penalties, court costs, expenses and pre-judgment and post-

judgment interest.
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                                       III.
                                     PARTIES

      4.     Burke is an individual residing in Tarrant County, Texas.

      5.     Defendant City of Fort Worth, Texas, is a public, local government entity

established and organized under, and pursuant to, the laws of the State of Texas,

with authority to sue and be sued in its own name, and may be served by serving its

Mayor, Betsy Price, at Fort Worth City Hall, 200 Texas Street, Fort Worth, Texas

76102, or wherever she may be found.

                                      IV.
                                 JURISDICTION

      6.     Jurisdiction is proper in this Court because this case is brought under

Tex. Gov’t Code § 554.001, et seq., commonly known as the Texas Whistleblower Act.

      7.     Tex. Gov’t Code § 554.007(b) provides that Whistleblower causes of

action must be brought in state district court, and Plaintiff’s damages exceed the

Court’s minimum jurisdictional limits.

      8.     Plaintiff has fulfilled the jurisdictional requirements under § 554.006 of

the Texas Whistleblower Act. On March 22, 2019, Plaintiff’s attorney, Stephen A.

Kennedy, sent a letter on Plaintiff’s behalf invoking the applicable grievance

procedure to City Attorney Sarah J. Fullenwider. See Exhibit A.

      9.     Today is the 61st day since Plaintiff began the grievance procedure and

no final decision has been rendered by the City in response to Plaintiff’s March 22,

2019 letter. Accordingly, Plaintiff hereby elects to terminate the grievance procedure

and file suit under the Texas Whistleblower Act, as permitted under § 554.006(d)(2)

thereof.
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                                        V.
                                      VENUE

      10.    Venue is proper in this Court because, at all times material to this case,

Burke was an employee of the City, a local government entity.

      11.    Burke resides in Tarrant County, and the facts giving rise to Burke’s

cause of action arose in Tarrant County, Texas.

      12.    Dallas County and Tarrant County are in the same geographic area and

have established a “council of governments or other regional commission” within the

meaning of Tex. Local Gov’t Code Ann. § 391. This council of governments is entitled

North Central Texas Council of Governments ("NCTCOG").

      13.    Tex. Gov’t Code Ann. § 554.007(b) allows an employee of a local

government entity to sue in a district court of any county within NCTCOG.

      14.    Both Tarrant County and Dallas County are part of NCTCOG and,

therefore, venue is proper in this Dallas County District Court.

                                      VI.
                                 INTRODUCTION

      15.    This is a whistleblower case brought pursuant to § 554.002 of the Texas

Government Code.

      16.    In his capacity as Assistant Director, Information Technology Solutions

(ITS), Burke reported that the City was not in compliance with Federal Criminal

Justice Information Security regulations identified herein.

      17.    Burke reported the CJIS violations to William Birchett, who served as

the City’s Local Agency Security Officer ("LASO") and held the title Senior

Information Technology Solutions (ITS) Manager. Burke also reported the violations
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to Kevin Gunn, the City’s Acting Chief Financial Officer, to Roger Wright, the City’s

Acting Chief Technology Officer, and to others reasonably expected to have authority

to investigate and enforce violations of law.

      18.    After Burke reported the violations of law, the City, through Gunn and

Wright, retaliated by (1) reassigning all of Burke's direct reports to a different

manager on January 2, 2019; (2) issuing a permanent memorandum to Burke’s

personnel file claiming “inadequate management” on January 2, 2019 (see Exhibit B);

(3) issuing a “pre-decision meeting notice” stating that “the Information Technology

Solutions Department is seriously considering the termination of your employment”

on January 11, 2019 (see Exhibit C); and (4) issuing a second “pre-decision meeting

notice” while Burke was on FMLA leave on January 18, 2019 (see Exhibit D).

      19.    Items (1) through (4) above constitute adverse employment actions that

were initiated less than 90 days after Burke made his whistleblower reports to law

enforcement. Each act is a separate violation of the Texas Whistleblower Act, codified

in § 554.002 of the Texas Government Code.

      20.    On March 22, 2019, through a letter from Burke’s counsel to Sarah J.

Fullenwider, Esq., City Attorney, Burke again reported that the City had not

complied with Federal CJIS regulations and requested an administrative appeal of

the adverse employment actions. See Exhibit A.

      21.    In a letter dated April 3, 2019, City Attorney Kelly Albin declared that

the March 22, 2019 request for administrative review constituted Burke’s

resignation, that the City accepted the resignation, and that Mr. Burke’s paid leave



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would terminate upon the expiration of Burke’s FMLA-protection period. See Exhibit

E.

        22.   The April 3, 2019 letter from Albin is, in effect, a termination of Burke’s

employment during his protected FMLA leave in retaliation for Burke reporting

violations of law to her as part of an administrative appeal on March 22, 2019. Albin’s

April 3, 2019 letter terminating Burke’s employment is a separate violation of the

Texas Whistleblower Act and was made within 60 days of the March 22, 2019

whistleblower report.

        23.   Accordingly, the City has the burden of proof to demonstrate that the

City did not retaliate when it reassigned all of Burke's direct reports to a different

manager on January 2, 2019, issued a permanent memorandum to Burke’s personnel

file claiming “inadequate management” on January 2, 2019, issued a “pre-decision

meeting notice” stating that the Information Technology Solutions Department was

seriously considering the termination of Burke’s employment on January 11, 2019,

issued a second “pre-decision meeting notice” while Burke was on FMLA leave on

January 18, 2019; and terminated Burke’s employment through the April 3, 2019

letter. Tex. Gov’t Code Ann. § 554.004 (a).

                                    VII.
                         MATERIAL PREDICATE FACTS

        24.   Burke began his employment with the City on May 29, 2015. His job

title was Assistant Director, Information Technology Solutions (ITS).

        25.   Burke is an Air Force Veteran who was disabled by an explosion on May

29, 1998, while stationed at Malmstrom Air Force Base. Burke's injuries from the


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explosion include migraines, a 3/4 loss of his hearing, nosebleeds, problems with

equilibrium, and other issues.

      26. Burke needs - and has needed since 1998 - accommodations to maintain a

job. Burke spoke to Gunn about these matters and Gunn stated he required nothing

more than a "heads up" when Burke needed to work from home or change his

schedule.

      27.    By May of 2018 Burke's team of IT professionals discovered a number of

violations and deficiencies with respect to cybersecurity policies and compliance. For

instance, Burke's Senior ITS Manager, William Birchett, concluded that the City was

90% non-compliant compared to industry standards.

      28.    Once Burke and his team started reporting CJIS issues in October of

2018, Gunn immediately demanded that Burke complete ADA paperwork with Al

Henderson, the City of Fort Worth ADA Specialist.

      29.    Over the scope of his employment, Burke made concerted efforts to bring

the City into compliance with cybersecurity standards.

     Burke Reports that City Employee Medical Information is Exposed

      30.    Through a letter from counsel, Burke reported to the City Attorney’s

Office that the City's employee benefit portal remained unsecure as of March 5, 2019.

The cybersecurity breach was initially reported on September 10, 2018. The City was

informed that any person could access city employee names, birthdates, social

security numbers, addresses, and health insurance claims. The data and benefits

were available on an unsecure City server in a file that was neither password



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protected nor encrypted, and accessible to anyone with internet access. See Exhibit

F.

        31.   In a press release dated May 16, 2019, the City claimed that “[i]n the

fall of 2018, the City addressed an employee data concern with a third-party benefit

partner which was immediately resolved by the vendor with additional

authentication requirements.” That statement is verifiably false, as demonstrated by

an email dated March 5, 2019 from Nathan Gregory, Assistant Director Human

Resources Department for the City of Fort Worth, to Roger Wright, the Acting Chief

Technology Officer and other city officials. In his email, Gregory admitted that “the

Benefits team did not know that the old link still work[ed]” as of March 5, 2019 and

that the confidential medical data of all City employees remained unsecure. See

Exhibit G.

        32.   Despite the City’s claim that the problem was “immediately resolved” in

2018, City employee sensitive medical data was available online to anyone with

internet access through at least March 5, 2019.

              Burke Blows the Whistle on Cybersecurity Violations

        33.   The Criminal Justice Information Act, codified as part of 28 U.S.C. §

534, is intended to "assure that criminal history record information wherever it

appears is collated, stored, and disseminated in a manner to ensure the accuracy,

completeness, currency, integrity, and security of such information and to protect

individual privacy." 28 C.F.R. § 20.




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       34.     Federal CJIS regulations require that computerized data must be

properly secured to "prevent unauthorized access to such information." 28 C.F.R. §

20.21(f)(1).

       35.     Federal CJIS regulations further require that access to criminal history

record information system facilities must be "restricted to authorized organizations

and personnel," and that direct access to criminal history record information shall be

available only to "authorized officers or employees of a criminal justice agency." 28

C.F.R. § 20.21(f).

       36.     Burke was aware that the City had previously failed CJIS audits by the

State of Texas Department of Public Safety (“DPS”) and by the FBI.

       37.     In 2013, the FBI found that the Fort Worth Police Department

(“FWPD”) was out of compliance with Federal CJIS regulations because the City used

public facilities to transmit encrypted CJIS data. City employee Alan Girton

(“Girton”) was responsible for resolving the deficiency. He reported that the deficiency

was resolved.

       38.     In 2015, the DPS found that the FWPD was in compliance with

Federal CJIS regulations for “data at rest” and “data in motion.” Girton was primarily

responsible for presenting information regarding the City’s compliance. Based on

representations from Girton and other City officials, DPS approved the City’s CJIS

encryption techniques. In fact, the City was not in compliance in 2015 because the

City did not have network architecture that included point-to-point encryption

between network devices. It is unclear whether Girton knew that the City was not in

compliance or simply did not understand the technological requirements. Regardless,
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the City represented to DPS that it was in compliance with Federal CJIS regulations

when it was not.

      39.    In 2016, the FBI found that the Fort Worth Municipal Court was not in

compliance with Federal CJIS regulations because the City did not use a secure

connection between the City jail and the Southwest Municipal Court. The City was

also cited for failure to have secure remote access. Girton reported that the City

resolved the issues.

      40.    In 2016 and 2017, on information and belief, the City misrepresented to

DPS that the City met all of the Federal CJIS regulations in response to DPS

questionnaires when it did not.

      41.    In late November of 2018, the City was required to begin completing a

DPS audit questionnaire used to determine whether the City was in compliance with

28 U.S.C. § 534 and 28 C.F.R. § 20.21. Burke knew that if he responded truthfully to

the DPS questionnaire, the City would fail the audit.

      42.    On November 19, 2018, Burke reported to the LASO, Birchett, that the

City was in violation of 28 U.S.C. § 534 and 28 C.F.R. § 20.21.

      43.    Burke reported to the LASO that the City did not meet Federal CJIS

regulations for keeping event logs for a minimum of one year; did not meet Federal

CJIS regulations concerning the personnel who accessed CJIS data; did not have

network architecture that allowed for point-to-point encryption from one network

device to another network device as required by Federal regulations; did not have a

policy addressing personally owned or publicly accessible computers as required by

Federal regulations; did not employ personal identification numbers that met CJIS
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standards as required by Federal regulations; did not meet CJIS requirements for

mobile devices as required by Federal regulations; did not meet Federal CJIS

regulations for wireless protocols; did not meet Federal CJIS regulations that require

mobile devices employ personal firewalls; and did not meet Federal CJIS regulations

that require a written plan with special reporting procedures for mobile devices.

      44.    Exhibits H through N reflect work performed by Burke to bring the City

into compliance with Federal CJIS regulations.

      45.    Among other things, the City knowingly and deliberately failed to

comply with 28 C.F.R. § 20.21(f)(1) and Tex. Gov’t Code Ann. § 552.108, which

prohibited convicted felons and persons with other disqualifying criminal convictions

from accessing CJIS data. Burke had earlier reported to Gunn and Wright that the

City permitted employees known to have felony convictions and other disqualifying

criminal convictions to access confidential CJIS data. The City knowingly and

deliberately allowed employees who were disqualified due to criminal convictions to

have access to CJIS. When Burke initially reported the unauthorized access to the

City, CJIS access permissions were initially removed and the disqualified employees

were physically moved such that they did not have access to CJIS computers. Within

less than six months, however, two employees had their CJIS access restored. Burke

again reported the unauthorized access to the City, and permissions for the

employees were again removed. One employee, however, retained access to CJIS due

to so-called “nested permissions groups” that gave the employee, and possibly others,

unauthorized access to CJIS records. Burke presented a remediation plan to Director

Gunn and Acting Director Wright, who rejected it. Burke then presented the plan to
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director Wright, who also rejected it. By refusing to revoke CJIS access privileges for

the disqualified employee, the City intentionally violated 28 U.S.C. § 534, 28 C.F.R.

§ 20.21(f)(1) and Tex. Gov’t Code Ann. § 552.108.

       46.    Another CJIS violation that Burke included in his whistleblower report

was that the City did not comply with Federal CJIS regulations that the City

maintain one year of log data identifying access to CJIS records. Federal CJIS

regulations require that the City maintain log records that “clearly identify both the

operator and the authorized receiving agency, clearly identify the requester and the

secondary recipient and take the form of a unique identifier that shall remain unique

to the individual requester and to the secondary recipient throughout the minimum

one (1) year retention period.” 28 C.F.R. § 20.21(f)(1). The City’s Computer Aided

Dispatch System complied with this requirement, but other City systems that also

store CJIS data do not, such as the Police Department’s Gang Operations Unit, Sex

Offender Operations Unit, and other unit systems.

       47.    Burke included in his whistleblower report was that the City used

HTTPS website encryption instead of using point-to-point encryption for devices that

access CJIS data. Federal CJIS Regulations require point-to-point encryption. 28

C.F.R. § 20.21(f)(1).

       48.    The Criminal Justice Information Act, codified as part of 28 U.S.C. §

534, is intended to "assure that criminal history record information wherever it

appears is collated, stored, and disseminated in a manner to ensure the accuracy,

completeness, currency, integrity, and security of such information and to protect

individual privacy." 28 C.F.R. § 20.
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       49.     Federal CJIS regulations require that computerized data must be

properly secured to "prevent unauthorized access to such information." 28 C.F.R. §

20.21(f)(1).

       50.     Federal CJIS regulations further require that access to criminal history

record information system facilities must be "restricted to authorized organizations

and personnel," and that direct access to criminal history record information shall be

available only to "authorized officers or employees of a criminal justice agency." 28

C.F.R. § 20.21(f).

       51.     Burke was aware that the City had previously failed CJIS audits by the

State of Texas Department of Public Safety (“DPS”) and by the FBI.

       52.     In 2016 and 2017, on information and belief, the City misrepresented to

DPS that the City met all of the Federal CJIS regulations in response to DPS

questionnaires when it did not.

       53.     In late November, 2018, a member of Burke's team, Birchett, was

required to begin completing a DPS audit questionnaire used to determine whether

the City was in compliance with 28 U.S.C. § 534 and 28 C.F.R. § 20.21. Burke and

Birchett both knew that if Birchett responded truthfully to the DPS questionnaire,

the City would fail the audit.

       54.     On November 19, 2018, Birchett provided responses to the DPS

questionnaire, told the truth, and reported that the City was in violation of 28 U.S.C.

§ 534 and 28 C.F.R. § 20.21.

       55.     In his DPS questionnaire responses, Birchett specifically reported that

the City did not meet Federal CJIS regulations for keeping event logs for a minimum
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of one year; did not meet Federal CJIS regulations concerning the personnel who

accessed CJIS data; did not have network architecture that allowed for point-to-point

encryption from one network device to another network device as required by Federal

regulations; did not have a policy addressing personally owned or publicly accessible

computers as required by Federal regulations; did not employ personal identification

numbers that met CJIS standards as required by Federal regulations; did not meet

CJIS requirements for mobile devices as required by Federal regulations; did not

meet Federal CJIS regulations for wireless protocols; did not meet Federal CJIS

regulations that require mobile devices employ personal firewalls; and did not meet

Federal CJIS regulations that require a written plan with special reporting

procedures for mobile devices.

      56.    One of the most egregious violations that Burke was concerned about,

and that Birchett reported on the audit questionnaire, was that the City knowingly

and deliberately failed to comply with 28 C.F.R. § 20.21(f)(1) and Tex. Gov’t Code

Ann. § 552.108, which prohibited convicted felons and persons with other

disqualifying criminal convictions from accessing CJIS data. Burke had earlier

reported to Gunn and Wright that the City permitted employees known to have felony

convictions and other disqualifying criminal convictions to access confidential CJIS

data. The City knowingly and deliberately allowed employees who were disqualified

due to criminal convictions to have access to CJIS. These employees included Bret

Belsher (Class B misdemeanor), Courtney Chadwick (Class B misdemeanor), Mark

Deboer (Class A misdemeanor), Stephen Doss (Class A misdemeanor), Neaita



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Franklin (felony conviction), Virginia Gomez (felony conviction), Wyatt Smith (Class

A misdemeanor), and Grant Stellmaker (felony conviction).

      57.    When Birchett initially reported the unauthorized CJIS access to the

City, CJIS access permissions were initially removed and the disqualified employees

were physically moved such that they did not have access to CJIS computers. Within

less than six months, however, DeBoer and Doss had their CJIS access restored.

      58.    Burke and Birchett again reported the unauthorized access to the City,

and permissions for DeBoer and Doss were again removed. DeBoer, however,

retained access to CJIS due to so-called “nested permissions groups” that gave

DeBoer, and possibly others, unauthorized access to CJIS records. Birchett presented

a remediation plan to Burke that included automated tools to disentangle the nested

permission groups.    Burke and Birchett reported the CJIS noncompliance and

presented their remediation plan to director Wright, who rejected it. By refusing to

revoke CJIS access privileges for DeBoer and Doss, the City intentionally violated,

and continues to violate, 28 U.S.C. § 534, 28 C.F.R. § 20.21(f)(1) and Tex. Gov’t Code

Ann. § 552.108.

      59.    Another egregious violation that Burke and Birchett included in their

whistleblower report was that the City did not comply with Federal CJIS regulations

that the City maintain one year of log data identifying access to CJIS records. Federal

CJIS regulations require that the City maintain log records that “clearly identify both

the operator and the authorized receiving agency, clearly identify the requester and

the secondary recipient and take the form of a unique identifier that shall remain

unique to the individual requester and to the secondary recipient throughout the
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minimum one (1) year retention period.” 28 C.F.R. § 20.21(f)(1). The City’s Computer

Aided Dispatch System complied with this requirement, but other City systems that

also store CJIS data do not, such as the Police Department’s Gang Operations Unit,

Sex Offender Operations Unit, and other unit systems.

    The City Attempts to Muzzle Burke from Reporting Violations of Law

      60.    The FBI CJIS Security Policy 3.2.9 requires that each City’s Local

Agency Security Officer ("LASO") shall "ensure the CSA ISO [Criminal Justice

Information Security Officer] is promptly informed of security incidents."

      61.    At all times relevant hereto, the LASO was William Birchett. Birchett

also held the title of Senior Information Technology Solutions (ITS) Manager.

      62.    In an email dated November 20, 2018, sent at 11:46 AM, Gunn ordered

Burke and other members of his cybersecurity team to seek prior authorization before

communicating information concerning security issues to anyone outside of the IT

department. The email, attached as Exhibit O, was sent in Gunn’s capacity as Acting

CFO, and was sent on behalf of the City.

      63.    In bold print, the email states that “nothing should be communicated

inside or outside of the organization of an information security nature without this

group first reviewing and providing positive confirmation.”

      64.    Gunn’s November 20, 2018 email directly violates FBI CJIS Security

Policy 3.2.9 by attempting to silence the City’s LASO and prevent him from freely

communicating with the Criminal Justice Information Security Officer.




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      65.    The email went on to specifically include “all materials for

procurements, M&Cs, Internal Audit, External Financial Audits and compliance

audits for the various regulatory programs of the City.”

      66.    On information and belief, one purpose of the email was to preclude

employees such as Burke from blowing the whistle to DPS regarding numerous

known Federal CJIS regulations for which the City was not in compliance.

      67.    On information and belief, Gunn knew that the City was required to

respond to a DPS questionnaire that would expose the City’s compliance failures with

various Federal CJIS regulations. Burke was one of the City employees responsible

for responding to the questionnaire.

      68.    On information and belief, Gunn knew, or should have known, as Acting

CFO and former Chief Technology Officer, that the City did not meet Federal CJIS

regulations for keeping event logs for a minimum of one year and did not want the

information released. Gunn’s November 20, 2018 email tried to stop this information

from being reported.

      69.    On information and belief, Gunn knew, or should have known, as Acting

CFO and former Chief Technology Officer, that the City did not meet Federal CJIS

regulations concerning the personnel who accessed CJIS data and did not want the

information released. Gunn’s November 20, 2018 email tried to stop this information

from being reported.

      70.    On information and belief, Gunn knew, or should have known, as Acting

CFO and former Chief Technology Officer, that the City did not have network

architecture that allowed for point-to-point encryption from one network device to
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another network device as required by Federal regulations and did not want the

information released. Gunn’s November 20, 2018 email tried to stop this information

from being reported.

      71.    On information and belief, Gunn knew, or should have known, as Acting

CFO and former Chief Technology Officer, that the City did not have a policy

addressing personally owned or publicly accessible computers as required by Federal

regulations and did not want the information released. Gunn’s November 20, 2018

email tried to stop this information from being reported.

      72.    On information and belief, Gunn knew, or should have known, as Acting

CFO and former Chief Technology Officer, that the City did not employ personal

identification numbers that met CJIS standards as required by Federal regulations

and did not want the information released. Gunn’s November 20, 2018 email tried to

stop this information from being reported.

      73.    On information and belief, Gunn knew, or should have known, as Acting

CFO and former Chief Technology Officer, that the City did not meet CJIS

requirements for mobile devices as required by Federal regulations and did not want

the information released. Gunn’s November 20, 2018 email tried to stop this

information from being reported.

      74.    On information and belief, Gunn knew, or should have known, as Acting

CFO and former Chief Technology Officer, that the City did not meet Federal CJIS

regulations for wireless protocols and did not want the information released. Gunn’s

November 20, 2018 email tried to stop this information from being reported.



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      75.    On information and belief, Gunn knew, or should have known, as Acting

CFO and former Chief Technology Officer, that the City did not meet Federal CJIS

regulations that require mobile devices to employ personal firewalls and did not want

the information released. Gunn’s November 20, 2018 email tried to stop this

information from being reported.

      76.    On information and belief, Gunn knew, or should have known, as Acting

CFO and former Chief Technology Officer, that the City did not meet Federal CJIS

regulations that require a written plan with special reporting procedures for mobile

devices and did not want the information released. Gunn’s November 20, 2018 email

tried to stop this information from being reported.

      77.    Gunn made concerted efforts to obstruct Burke’s ability to report the

City’s substantial violations of Federal CJIS regulations.

      78.    Former Fort Worth Chief of Police, Joel F. Fitzgerald, Sr., PhD., upon

learning of Gunn’s directive that IT personnel were not allowed to communicate with

his department without prior approval, concludes that “[t]his direction is in complete

conflict with the MCA between FWPD and IT and DPS and the FBI may interpret it

as a means to circumvent CJIS rules by silencing LASO [Birchett].” See Exhibit P.

      79.    Gunn persistently reminded Burke and Birchett that the City absolutely

cannot fail its cybersecurity audit, indicating that it was more imperative to lie and

pass the audit than to be honest and come into compliance.




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            City Fails to Notify Individuals of Cybersecurity Breaches
                              Required by State Law

      80.      Tex. Bus. & Com. Code Ann. § 521.053, regarding unauthorized use of

identifying information, required the City to notify and disclose cybersecurity

violations to all individuals whose data was actually or potentially compromised

by those violations, and the City failed to do so during Burke’s employment. For

example, the City should have disclosed to individuals in the CJIS system whose data

was or could have been accessed by convicted felons, or other persons with

disqualifying criminal convictions, that their information was improperly accessed.

      81.      On information and belief, the City Council and Mayor were aware of

some, if not all, of the reporting and notification obligations and took no action.

         Gunn and Wright Conspire to Cover Up Cybersecurity Issues

      82.      As a direct and proximate result of Burke's several whistleblower

reports, City employees Gunn and Wright first blamed Birchett, then shifted the

blame to Burke. Both Burke and Birchett were making good faith efforts to report

compliance issues in accordance with the law and their employment obligations, but

were punished by Gunn and Wright instead of praised.

            The City Retaliates by Reassigning Burke's Direct Reports

      83.      On January 2, 2019, within 90 days of Burke’s CJIS whistleblower

reports, Gunn and Wright made the executive decision to reassign Burke's direct

reporters; effectively leaving Burke with no way to perform his employment

obligations.




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      84.    Gunn and Wright acted within the scope of their employment and,

therefore, acted on behalf of the City.

      85.    By reassigning Burke's direct reports, Gunn and Wright, acting on

behalf of the City, made a “personnel action” that affected Burke’s “compensation,

promotion, demotion, transfer, work assignment, or performance evaluation” under

Tex. Gov’t Code Ann. § 554.001(3).

        The City Retaliates by Reassigning Burke's IT Security Team

      86.    On January 2, 2019, Gunn and Wright, acting within the scope of their

employment with the City, stripped Burke of his entire cybersecurity team, and

assigned them to a different city employee.

      87.    Gunn and Wright made the decision to decision to reassign Burke’s IT

Security Team within 90 days of Burke’s whistleblower reports to Birchett, DPS,

Gunn and Wright.

The City Retaliates by Adding a Permanent Negative Review Memorandum
                         to Burke's Personnel File

      88.    In a memo dated January 2, 2019, Gunn issued a Memorandum to

Burke, which was included within his permanent personnel file, criticizing his

management competency. See Exhibit B.

      89.    The City’s conduct constitutes an adverse employment action within 90

days of Burke’s whistleblower reports to Birchett, DPS, Gunn and Wright.




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     The City Retaliates by Giving Burke a "Pre-Determination" Notice

      90.   In a memo dated January 11, 2019 the City issued a “pre-determination

notice” that the City was considering terminating Burke’s employment. See Exhibit

C.

      91.   The City made its decision to issue the predetermination notice within

90 days of Burke’s whistleblower reports to Birchett, DPS, Gunn and Wright.

        The City Retaliates With Second "Pre-Determination" Notice

      92.   In a memo dated January 18, 2019, the City issued a second pre-

determination notice that they were considering terminating Burke’s employment

and declared that they intended to place Burke on unpaid administrative leave when

he returned from FMLA leave. See Exhibit D.

      93.   The City made its decision to issue the second predetermination notice

within 90 days of Burke’s whistleblower reports to Birchett, DPS, Gunn and Wright.

                  The City Retaliates by Terminating Burke

      94.   On March 22, 2019, Burke, through his counsel, requested an

administrative review of the adverse personnel actions identified above. As part of

the request for administrative review, Burke reported to the City Attorney the

numerous violations of law. See Exhibit A.

      95.   The March 22, 2019 request for administrative review constitutes a

whistleblower report.

      96.   On April 3, 2019, within 90 days of Burke’s March 22, 2019

whistleblower report, City Attorney Kelly Albin informed Burke, through his

attorney, that the City had made the decision to terminate Burke. See Exhibit E.
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      97.    This conduct violates the Texas Whistleblower Act, codified at Tex. Gov’t

Code § 554.001 Ann., et seq.

                         The City has the Burden of Proof

      98.    The City made four adverse personnel actions against Burke within 90

days of whistleblower reports Burke made to Birchett, DPS, Gunn and Wright in

November and December of 2018.

      99.    The City terminated Burke within 90 days of a March 22, 2019,

whistleblower report to the City Attorney’s Office.

      100.   The burden is on the City of Fort Worth to prove that the adverse

personnel actions identified herein were not in retaliation for his reporting violations

of law including, by way of example, and not limitation, 28 C.F.R. §20.21(f)(1), 45

C.F.R. § 164.502, Tex. Gov’t Code Ann. § 552.108 and Tex. Bus. & Com. Code Ann. §

521.051 et seq.

                                        VIII.
                                CAUSES OF ACTION

      Violations of Tex. Gov’t Code § 554 -- The Texas Whistleblower Act

      101.   The preceding paragraphs are incorporated by reference as if set forth

verbatim.

      102.   The Texas Whistleblower Act provides that a local governmental entity

may not suspend or terminate the employment of, or take other adverse personnel

action against, a public employee who in good faith reports a violation of law by the

employing governmental entity or another public employee to an appropriate law

enforcement authority. Tex. Gov’t Code Ann. § 554.002(a).

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      103.   An appropriate law enforcement authority is a part of a state of local

governmental entity or of the federal government that the employee in good faith

believes is authorized to regulate under or enforce the law alleged to be violated in

the report, or investigate or prosecute a violation of criminal law. Tex. Gov’t Code

Ann. § 554.002(b).

      104.   The actions of the City of Fort Worth set forth in the foregoing facts

constitute violations of the Texas Whistleblower Act, Tex. Gov’t Code Ann. § 554.001,

et seq. Retaliation against a public employee is expressly prohibited by Tex. Gov’t

Code Ann. § 554.002, and a public employee so retaliated against has the right to

bring a private cause of action. Tex. Gov’t Code Ann. § 554.003.

                                     COUNT 1:

  In Response to Burke’s Whistleblowing Reports, The City Retaliated by
          Issuing a Permanent Memo to Burke's Personnel File

      105.   On numerous occasions in November and December 2018, Burke

reported violations of law in good faith to Birchett, the LASO, whom Burke

reasonably believed was authorized to enforce the laws alleged to have been violated

in the whistleblower reports, as well as DPS, Gunn and Wright.

      106.   On January 2, 2019, the City issued a memorandum criticizing Burke’s

management capabilities and caused same to be permanently included in his

personnel file.

      107.   As a result of Defendant's violations of the Texas Whistleblower Act,

Plaintiff has suffered and hereby sues for: (1) reinstatement with backpay, or front-

pay in lieu of reinstatement; (2) any and all actual damages, including but not limited


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to past, present, and future compensation for wages lost, as well as any retirement

and fringe benefits; (3) past, present, and future emotional pain, suffering,

inconvenience, mental anguish, and loss of enjoyment of life; (4) other compensatory

damages yet to be discovered; (5) civil penalties; (6) court costs; and (7) reasonable

attorneys’ fees.

      108.   Defendant, and its employees Gunn and Wright, acting in the course

and scope of their employment, showed actual malice in connection with their actions

toward Burke by falsifying Burke’s employment record so as to damage his reputation

and his prospects for future employment, and by suspending and terminating Burke

when they knew, or should have reason to know, that such suspension and

termination were illegal. Such actions by the City and its employees constituted

specific intent, or conscious indifference to, the prospect of substantial injury to

Burke. Accordingly, Burke is entitled to up to $250,000 in damages under Tex. Gov’t

Code Ann. § 554.003(c).

      109.   As additional evidence of the malice, Gunn and Wright created a hostile

work environment for all employees, including Burke, which is documented by an

employee survey attached hereto as Exhibit Q.

                                     COUNT 2:

  In Response to Burke’s Whistleblowing Reports, The City Retaliated by
   Issuing a Pre-decision Memo Concerning Burke’s Future Employment

      110.   On numerous occasions in November and December 2018, Burke

reported violations of law in good faith to Birchett, the LASO, whom Burke




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reasonably believed was authorized to enforce the laws alleged to have been violated

in the whistleblower reports, as well as DPS, Gunn and Wright.

      111.   The City retaliated by issuing a pre-decision memo warning that the

City was considering terminating Burke on January 11, 2019. The pre-decision memo

constitutes an adverse employment action under the Texas Whistleblower Act.

      112.   As a result of Defendant's violations of the Texas Whistleblower Act,

Plaintiff has suffered and hereby sues for: (1) reinstatement with backpay, or front-

pay in lieu of reinstatement; (2) any and all actual damages, including but not limited

to past, present, and future compensation for wages lost, as well as any retirement

and fringe benefits; (3) past, present, and future emotional pain, suffering,

inconvenience, mental anguish, and loss of enjoyment of life; (4) other compensatory

damages yet to be discovered; (5) civil penalties; (6) court costs; and (7) reasonable

attorneys’ fees.

      113.   Defendant, and its employees Gunn and Wright, acting in the course

and scope of their employment, showed actual malice in connection with their actions

toward Burke by falsifying Burke’s employment record so as to damage his reputation

and his prospects for future employment, and by suspending and terminating Burke

when they knew, or should have reason to know, that such suspension and

termination were illegal. Such actions by the City and its employees constituted

specific intent, or conscious indifference to, the prospect of substantial injury to

Burke. Accordingly, Burke is entitled to up to $250,000 in damages under Tex. Gov’t

Code Ann. § 554.003(c).



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      114.   As additional evidence of the malice, Gunn and Wright created a hostile

work environment for all employees, including Burke, which is documented by an

employee survey attached hereto as Exhibit Q.

                                     COUNT 3:

  In Response to Burke’s Whistleblowing Reports, The City Retaliated by
     Issuing a Second Pre-decision Memo Concerning Burke’s Future
                              Employment

      115.   On numerous occasions in November and December 2018, Burke

reported violations of law in good faith to Birchett, the LASO, whom Burke

reasonably believed was authorized to enforce the laws alleged to have been violated

in the whistleblower reports, as well as DPS, Gunn and Wright.

      116.   The City retaliated by issuing a second pre-decision memo warning that

the City was considering terminating Burke on January 18, 2019. The second pre-

decision memo constitutes an adverse employment action under the Texas

Whistleblower Act.

      117.   As a result of Defendant's violations of the Texas Whistleblower Act,

Plaintiff has suffered and hereby sues for: (1) reinstatement with backpay, or front-

pay in lieu of reinstatement; (2) any and all actual damages, including but not limited

to past, present, and future compensation for wages lost, as well as any retirement

and fringe benefits; (3) past, present, and future emotional pain, suffering,

inconvenience, mental anguish, and loss of enjoyment of life; (4) other compensatory

damages yet to be discovered; (5) civil penalties; (6) court costs; and (7) reasonable

attorneys’ fees.



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      118.   Defendant, and its employees Gunn and Wright, acting in the course

and scope of their employment, showed actual malice in connection with their actions

toward Burke by falsifying Burke’s employment record so as to damage his reputation

and his prospects for future employment, and by suspending and terminating Burke

when they knew, or should have reason to know, that such suspension and

termination were illegal. Such actions by the City and its employees constituted

specific intent, or conscious indifference to, the prospect of substantial injury to

Burke. Accordingly, Burke is entitled to up to $250,000 in damages under Tex. Gov’t

Code Ann. § 554.003(c).

      119.   As additional evidence of the malice, Gunn and Wright created a hostile

work environment for all employees, including Burke, which is documented by an

employee survey attached hereto as Exhibit Q.

                                    COUNT 4:

               In Response to Burke’s Whistleblowing Reports,
                  The City Retaliated by Terminating Burke

      120.   On March 22, 2019, Burke, through his counsel, sought administrative

review by the City Attorney’s Office of the adverse memorandum added to Burke’s

employment file and the two pre-determination memos threatening to terminate

Burke. In the March 22, 2019 request for administrative review, Burke identified

numerous violations of law by the City.

      121.   Rather than actually addressing the violations of law, City Attorney

Kelly Akin announced that Burke was terminated on April 3, 2019.




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      122.   The April 3, 2019 termination of Burke violated the Texas

Whistleblower Act.

      123.   As a result of Defendant's violations of the Texas Whistleblower Act,

Plaintiff has suffered and hereby seeks actual damages in an amount not less than

the maximum amount permitted by applicable law, based upon the allegations above.

      124.   As a result of Defendant's violations of the Texas Whistleblower Act,

Plaintiff has suffered and hereby sues for: (1) reinstatement with backpay, or front-

pay in lieu of reinstatement; (2) any and all actual damages, including but not limited

to past, present, and future compensation for wages lost, as well as any retirement

and fringe benefits; (3) past, present, and future emotional pain, suffering,

inconvenience, mental anguish, and loss of enjoyment of life; (4) other compensatory

damages yet to be discovered; (5) civil penalties; (6) court costs; and (7) reasonable

attorneys’ fees.

      125.   Defendant, and its employees Gunn and Wright, acting in the course

and scope of their employment, showed actual malice in connection with their actions

toward Burke by falsifying, and harassing and pressuring others to falsify, Burke’s

employment record so as to damage his reputation and his prospects for future

employment, and by suspending and terminating Burke when they knew, or should

have reason to know, that such suspension and termination were illegal. Such actions

by the City and its employees constituted specific intent, or conscious indifference to,

the prospect of substantial injury to Burke. Accordingly, Burke is entitled to up to

$250,000 in damages under Tex. Gov’t Code Ann. § 554.003(c).



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      126.   As additional evidence of the malice, Gunn and Wright created a hostile

work environment for all employees, including Burke, which is documented by an

employee survey attached hereto as Exhibit Q.

                                      IX.
                              WAIVER OF IMMUNITY

      127.   A violation of Tex. Gov’t Code Ann. § 554.002 waives governmental

immunity. Tex. Gov’t Code Ann. § 554.0035.

                                    X.
                         REQUESTS FOR DISCLOSURE

      128.   Pursuant to Texas Rule of Civil Procedure 194, Defendant is requested

to disclose, within fifty (50) days of service of this Request, the information or

material described in Rule 194.2 and Rule 192(b)(6).

                                      XI.
                                DEMAND FOR JURY

      129.   Plaintiff hereby demands trial by jury for all causes of action stated

herein.

                                         XII.
                                       PRAYER

      Wherefore, Premises considered, Plaintiff respectfully prays that Defendant be

cited to appear and answer herein, that upon final hearing of this cause, judgment be

entered for the Plaintiff against Defendant for all damages in an amount within the

jurisdictional limits of this Court, including actual damages, compensatory damages,

special damages, exemplary damages, together with pre-judgment interest at the

maximum rate allowed by law, post-judgment interest at the legal rate, costs of court,

and such other and further relief to which Plaintiff may be entitled at law or in equity.

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                                        Respectfully Submitted,


                                        /s/ Stephen A. Kennedy
                                        Stephen A. Kennedy
                                        State Bar No. 11300425

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